Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 1 of 31 PAGEID #: 5879




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

    MICHAEL GONIDAKIS, MARY PARKER,
    MARGARET CONDITT, BETH
    VANDERKOOI, LINDA SMITH,
    DELBERT DUDUIT, THOMAS W. KIDD
    JR., DUCIA HAMM,
                                                    Case No. 2:22-cv-00773
           Plaintiffs,

    BRIA BENNETT, REGINA C. ADAMS,  Chief Judge Algenon L. Marbley
    KATHLEEN M. BRINKMAN, MARTHA    Judge Amul R. Thapar
    CLARK, SUSANNE L. DYKE, MERYL   Judge Benjamin J. Beaton
    NEIMAN, HOLLY OYSTER, CONSTANCE
    RUBIN, EVERETT TOTTY,

           Intervenor-Plaintiffs,

    v.

    FRANK LAROSE, in his capacity as Ohio
    Secretary of State,

           Defendant.


           BENNETT PETITIONERS’ RESPONSE TO POST-HEARING BRIEFS
         REGARDING PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

          Intervenor-Plaintiffs Bria Bennett, Regina C. Adams, Kathleen M. Brinkman, Martha

   Clark, Susanne L. Dyke, Meryl Neiman, Holly Oyster, Constance Rubin, and Everett Totty (the

   “Bennett Petitioners”) submit this response to other parties’ post-hearing briefs on Plaintiffs’

   Motion for a Preliminary Injunction, and to answer the three questions posed by the Court to the

   parties, in accordance with the Court’s Orders, ECF Nos. 143 and 172.
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 2 of 31 PAGEID #: 5880




                                                      TABLE OF CONTENTS

   INTRODUCTION AND LOCAL RULE 7.2(A) SUMMARY ...................................................... 1
   ARGUMENT .................................................................................................................................. 2
      I.     Answer to Question 1: Failure to conduct a primary election that state law requires
             violates federal rights under the Due Process Clause and the First Amendment................. 2
      II. Answer to Question 2: Ohio may not decline to hold a primary and go straight to
          the general election. ............................................................................................................. 6
      III. Answer to Question 3: The federal court has authority to require a primary to be
           held to protect federal rights, and it should do so on April 20 if there is no lawful
           map and scheduled primary. ................................................................................................ 9
      IV. The Court must order the use of a substantively lawful plan, not an unlawful plan
          passed by the Commission. ................................................................................................ 11
      V. The Third and Fourth Plans are unconstitutional. .............................................................. 15
      VI. The 2011 Plan is unconstitutionally malapportioned and violates Ohio law. .................... 17
      VII. Both the Corrected Independent Map Drawers’ Plan and the Rodden III Plan are
           lawful and could be imposed by the Court......................................................................... 19
           A. The Corrected Independent Map Drawers’ Plan ............................................................ 20
           B. The Rodden III Plan ....................................................................................................... 23
   CONCLUSION ............................................................................................................................. 24




                                                                         i
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 3 of 31 PAGEID #: 5881




                                                  TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

   Cases

   Abrams v. Johnson,
      521 U.S. 74 (1997) ...................................................................................................................13

   Anderson v. Celebrezze,
      460 U.S. 780 (1983) .......................................................................................................1, 4, 5, 9

   Bennett v. Ohio Redistricting Comm’n,
      No. 2021-1198 (Ohio Jan. 28, 2022) .......................................................................................21

   Bonas v. Town of N. Smithfield,
      265 F.3d 69 (1st Cir. 2001) ........................................................................................1, 3, 10, 11

   Branch v. Smith,
      538 U.S. 254 (2003) ...................................................................................................................5

   California Democratic Party v. Jones,
      530 U.S. 567 (2000) ...................................................................................................................4

   Carter v. Chapman,
      No. 7 MM 2022, 2022 WL 549106 (Pa. Feb. 23, 2022) ..........................................................10

   Cincinnati, Wilmington & Zanesville R.R. Co. v. Comm’rs of Clinton Cnty.,
      1 Ohio St. 77 (1852).......................................................................................................2, 12, 14

   Diaz v. Silver,
      932 F. Supp. 462 (E.D.N.Y. 1996) ..........................................................................................18

   Duncan v. Poythress,
      657 F.2d 691 (5th Cir. 1981) .....................................................................................1, 3, 10, 11

   Evenwel v. Abbott,
      578 U.S. 54 (2016) .............................................................................................................17, 18

   Gentry v. Deuth,
      456 F.3d 687 (6th Cir. 2006) .........................................................................................2, 12, 14

   Griffin v. Burns,
      570 F.2d 1065 (1st Cir. 1978) ....................................................................................................3

   Harper v. Hall,
      379 N.C. 656 (2021), reconsideration dismissed, 867 S.E.2d 185 (N.C. 2022)......................10




                                                                       ii
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 4 of 31 PAGEID #: 5882




   Jolivette v. Husted,
       694 F.3d 760 (6th Cir. 2012) .....................................................................................................8

   Large v. Fremont Cnty., Wyo.,
      670 F.3d 1133 (10th Cir. 2012) .....................................................................................2, 12, 14

   Larios v. Cox,
      305 F. Supp. 2d 1335 (N.D. Ga. 2004) ....................................................................................10

   League of Women Voters of Ohio v. Ohio Redistricting Comm’n,
      2022-Ohio-789, 2022 WL 803033 (Ohio Mar. 16, 2022) .................................................15, 21

   League of Women Voters of Ohio v. Ohio Redistricting Comm’n,
      No. 2022-Ohio-65, 2022 WL 110261 (Ohio Jan. 12, 2022) ....................................................23

   Middletown v. Ferguson,
      25 Ohio St. 3d 71 (1986)....................................................................................................12, 14

   Navajo Nation v. Ariz. Indep. Redistricting Comm’n,
      230 F. Supp. 2d 998 (D. Ariz. 2002) .................................................................................13, 14

   Nolles v. State Comm. for Reorg. of Sch. Dists.,
      524 F.3d 892 (8th Cir. 2008) .....................................................................................................3

   State ex. rel. Ohio Acad. of Trial Lawyers v. Sheward,
       86 Ohio St. 3d 451 (1999)..................................................................................................12, 14

   State ex rel. Ohio Gen. Assembly v. Brunner,
       114 Ohio St. 3d 386 (2007)......................................................................................................12

   Perry v. Perez,
      565 U.S. 388 (2012) ......................................................................................................... passim

   Pileggi v. Aichele,
       843 F. Supp. 2d 584 (E.D. Pa. 2012) .......................................................................................18

   Reynolds v. Sims,
      377 U.S. 533 (1964) ......................................................................................................... passim

   Sixty-Seventh Minn. State Senate v. Beens,
       406 U.S. 187 (1972) .................................................................................................................10

   Smith v. Allwright,
      321 U.S. 649 (1944) ...................................................................................................................3

   Straw v. Barbour Cnty.,
       864 F. Supp. 1148 (M.D. Ala. 1994) .................................................................................13, 14



                                                                      iii
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 5 of 31 PAGEID #: 5883




   Tallahassee Branch of NAACP v. Leon Cnty., Fla.,
       827 F.2d 1436 (11th Cir. 1987) .........................................................................................13, 14

   Tashjian v. Republican Party of Conn.,
      479 U.S. 208 (1986) ...............................................................................................................3, 4

   Upham v. Seamon,
      456 U.S. 37 (1982) (per curiam) ..............................................................................................10

   Watkins v. Mabus,
      771 F. Supp. 789 (S.D. Miss. 1991).........................................................................................18

   Wattson v. Simon,
      970 N.W.2d 42 (Minn. Feb. 15, 2022).....................................................................................18

   White v. Weiser,
      412 U.S. 783 (1973) ......................................................................................................... passim

   Williams v. Rhodes,
      393 U.S. 23 (1968) .............................................................................................................1, 4, 5

   Yang v. Kosinski,
      960 F.3d 119 (2d Cir. 2020).......................................................................................................4

   Statutes

   Ohio R.C. § 3501.01 ....................................................................................................................6, 8

   Ohio R.C. § 3505.03 ........................................................................................................................7

   Ohio R.C. § 3513.01 ........................................................................................................................6

   Ohio R.C. § 3513.02 ........................................................................................................................7

   Ohio R.C. § 3513.257 ..................................................................................................................7, 8

   Ohio R.C. § 3517.01 ........................................................................................................................8

   Ohio R.C. § 3517.012 .................................................................................................................. 7-9

   Other Authorities

   Ohio Const. art. V, § 7 .....................................................................................................................6

   Ohio Const. art. XI, § 6 ..................................................................................................................19




                                                                        iv
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 6 of 31 PAGEID #: 5884




                      INTRODUCTION AND LOCAL RULE 7.2(A) SUMMARY

             The Court asked the parties to address whether there is a federal right to vote in a primary

   if state law requires a primary for state elections. The answer is yes. Infra Part I, pp. 2-6. For Ohio

   to fail to hold a legally-required election would violate federal rights protected by the Due Process

   Clause, Bonas v. Town of N. Smithfield, 265 F.3d 69, 75 (1st Cir. 2001); Duncan v. Poythress, 657

   F.2d 691, 703 (5th Cir. 1981), and associational rights of voters, candidates, and political parties

   protected by the First Amendment, Williams v. Rhodes, 393 U.S. 23, 31 (1968).

             For the same reason, the answer to the Court’s second question—whether Ohio may simply

   not hold a primary and have a general election—is no. Infra Part II, pp. 6-9. To hold no primary

   would, under existing Ohio law, bar Democratic and Republican candidates’ access to the general

   election ballot—itself a violation of federal rights as established by the U.S. Supreme Court’s

   decision in Williams, 393 U.S. at 31, and Anderson v. Celebrezze, 460 U.S. 780, 793-94, 806

   (1983).

             Finally, the Court asked about its authority to “move a primary election.” If the state courts

   will not act to require Ohio to hold its primary, the time is fast approaching when it will be

   necessary and within the Court’s authority to require a primary to protect Petitioners’ and all

   Ohioans’ federal rights, described above. Infra Part III, pp. 9-11; Bonas, 265 F.3 at 76; Duncan,

   657 F.2d at 693. The Court should act on April 20, if the state process has not yet yielded a lawful

   district plan and a scheduled General Assembly primary.

             Should that come to pass, this Court must order the use of a plan that comports with only

   federal law, but also the Ohio Constitution. Infra Part IV, pp. 11-15. Federal courts entering relief

   in redistricting cases must follow the substantive requirements of state law to the greatest extent

   possible. White v. Weiser, 412 U.S. 783, 795 (1973); see also Perry v. Perez, 565 U.S. 388, 393

   (2012); Reynolds v. Sims, 377 U.S. 533, 584 (1964). e Federal courts may not order the use of

                                                       1
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 7 of 31 PAGEID #: 5885




   substantively unlawful plans passed by state officials, as such plans are void and ultra vires. Large

   v. Fremont Cnty., Wyo., 670 F.3d 1133, 1147 (10th Cir. 2012); Gentry v. Deuth, 456 F.3d 687, 697

   (6th Cir. 2006); Cincinnati, Wilmington & Zanesville R.R. Co. v. Comm’rs of Clinton Cnty., 1 Ohio

   St. 77, 86 (1852).

           The plans adopted by the Ohio Redistricting Commission (the “Commission”) do not

   comply with Ohio law—and the Commission has no legal authority to adopt unconstitutional

   plans. Infra Part V, pp. 15-17. The 2011 Plan is the worst option of all those before the Court: it

   violates both federal law and Ohio law, and it would not even carry any benefits of simplifying

   electoral administration as compared with a completely new plan. Infra Part VI, pp. 17-19. The

   good news is that there are at least two plans already in existence that comply with Ohio and federal

   law: the Corrected Independent Map Drawers’ Plan and the Rodden III Plan. Infra Part VII, pp.

   20-24. If intervention becomes necessary to protect Ohioans’ federal rights, this Court should

   impose a lawful plan such as the Corrected Independent Map Drawers’ Plan or the Rodden III Plan

   to be implemented at a primary election on August 2, 2022

                                               ARGUMENT

      I.       Answer to Question 1: Failure to conduct a primary election that state law
               requires violates federal rights under the Due Process Clause and the First
               Amendment.

           The Court asked the parties: “Is there a federal right to vote in a primary if state law requires

   a primary for state elections?” Order, ECF No. 172. The answer is yes.

           State officials violate federal rights under the Due Process Clause and associational rights

   protected by the First Amendment if they fail to conduct a primary election that state law requires

   them to conduct. “Undeniably the Constitution of the United States protects the right of all

   qualified citizens to vote, in state as well as in federal elections.” Reynolds, 377 U.S. at 554. “The

   right to vote freely for the candidate of one’s choice is of the essence of a democratic society, and


                                                      2
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 8 of 31 PAGEID #: 5886




   any restrictions on that right strike at the heart of representative government.” Id. at 555. And the

   right to vote in a primary is no different. See Smith v. Allwright, 321 U.S. 649, 661-62 (1944) (“It

   may now be taken as a postulate that the right to vote in such a primary for the nomination of

   candidates without discrimination by the State, like the right to vote in a general election, is a right

   secured by the Constitution.”); Griffin v. Burns, 570 F.2d 1065, 1075 (1st Cir. 1978) (“Primaries

   as well as general elections are protected as an integral part of the election process.”).

            Courts have therefore consistently held that state officials’ failure to conduct an election

   that state law requires violates federal rights protected by the Due Process Clause. Bonas, 265 F.3d

   at 75 (“[T]otal and complete disenfranchisement of the electorate as a whole is patently and

   fundamentally unfair (and, hence, amenable to rectification in a federal court).”); Duncan, 657

   F.2d at 703 (holding the Due Process Clause protects “the right to be free from the purposeful

   decision of state officials to deny the citizens of a state the right to vote in an election mandated

   by law”); see also Nolles v. State Comm. for Reorg. of Sch. Dists., 524 F.3d 892, 898 (8th Cir.

   2008) (“[V]oters can challenge a state election procedure in federal court . . . when election

   officials refuse to hold an election though required by state law, resulting in a complete

   disenfranchisement . . . .”). While the issue has arisen only rarely—state officials do not usually

   fail to conduct an election that state law requires—the Bennett Petitioners are aware of no contrary

   cases.

            Bonas and Duncan did not involve primary elections, but if anything, the failure to hold a

   primary election to determine political parties’ nominees implicates more federal rights, not fewer:

   specifically, associational rights protected by the First Amendment. “The freedom of association

   protected by the First and Fourteenth Amendments includes partisan political organization.”

   Tashjian v. Republican Party of Conn., 479 U.S. 208, 214 (1986). And while states have




                                                      3
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 9 of 31 PAGEID #: 5887




   substantial power to regulate “the election process for state offices,” that “authority does not

   extinguish the State’s responsibility to observe the limits established by the First Amendment

   rights of the State’s citizens.” Id. at 217. “The right to form a party for the advancement of political

   goals means little if a party can be kept off the election ballot and thus denied an equal opportunity

   to win votes.” Williams, 393 U.S. at 31. “So also, the right to vote is heavily burdened if that vote

   may be cast only for one of two parties at a time when other parties are clamoring for a place on

   the ballot.” Id. Actions by a state that deny political parties a reasonable opportunity to place their

   nominees on the ballot therefore impose “heavy burdens on the right to vote and to associate,” and

   must be supported by a “compelling interest.” Id.; see also Yang v. Kosinski, 960 F.3d 119, 124

   (2d Cir. 2020) (finding plaintiffs likely to succeed on claim that New York’s cancellation of the

   2020 Democratic primary “unduly burdened their rights of free speech and association”). Cf.

   California Democratic Party v. Jones, 530 U.S. 567, 575 (2000) (“Unsurprisingly, our cases

   vigorously affirm the special place the First Amendment reserves for, and the special protection it

   accords, the process by which a political party ‘select[s] a standard bearer who best represents the

   party's ideologies and preferences.’” (citation omitted)); Anderson, 460 U.S. at 786 (“The impact

   of candidate eligibility requirements on voters implicates basic constitutional rights.”).

          As explained in the next section, under Ohio election law, if no General Assembly primary

   is held, then it appears that there will be no opportunity for General Assembly candidates

   nominated by the Democratic and Republican Parties to obtain a place on the general election

   ballot. Infra Part II. And while independent candidates might be eligible to be listed, if they are

   able to file nomination petitions in time, candidates affiliated with a political party are flatly

   prohibited from running as independent candidates. Id. The result would be effectively the inverse

   of the situation that the Supreme Court held unconstitutional in Williams: an election in which only




                                                      4
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 10 of 31 PAGEID #: 5888




   independents, and not nominees of the major parties, will be listed on the ballot. See Williams, 393

   U.S. at 24; see also Anderson, 460 U.S. at 806 (holding that Ohio’s requirement that independent

   candidates file nominating petitions in March in order to appear on the general election ballot

   unduly burdened First and Fourteenth Amendment rights). For Ohio to keep all candidates

   affiliated with existing political parties off the ballot would deny those candidates “an equal

   opportunity to win votes” and would burden Ohioans’ associational rights to at least as great an

   extent as would keeping minor parties off the ballot. Id. at 31. The result would be an extraordinary

   burden on voters’, candidates’, and parties’ associational rights, and would deny millions of

   Ohioans the right to vote for their candidates of choice.

          What’s more, the above discussion assumes that Ohio will be able to adopt a constitutional

   General Assembly plan in time for the November general election without intervention by this

   Court. The Bennett Petitioners have been steadfast in urging the Court to give Ohio as long as

   possible to adopt a lawful map, but they share other Ohioans’ frustration and astonishment at the

   events of the past several months. Ohio was unable to adopt a General Assembly plan in time for

   the May 3 primary, yet the General Assembly took no steps to reschedule that primary, and still

   has not done so.1 In these circumstances, if Ohio fails to adopt a lawful plan by May 3, it is not

   clear that Ohio will be able to do so in time for the November general election.

          At some point, deferral must come to an end so that an orderly election may be held. See

   Branch v. Smith, 538 U.S. 254, 260-62 (2003) (affirming district court’s decision to order use of



          1
             According to recent reporting, Ohio House of Representatives Speaker Robert Cupp has
   confirmed that the General Assembly has no plans to introduce legislation setting a new primary
   date, claiming that “the process was ‘in the hands of the federal court,’ despite various court
   documents in which he argued that the election is a legislative issue and any changes should be
   made in the General Assembly.” Susan Tebben, Ohio House Speaker says no primary election
   legislation coming soon, Ohio Capital Journal (Apr. 7, 2022, 3:50 AM) https://ohiocapitaljournal
   .com/2022/04/07/ohio-house-speaker-says-no-primary-election-legislation-coming-soon/.

                                                    5
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 11 of 31 PAGEID #: 5889




   its own plan in time for the candidate qualification deadline in March of an election year). Based

   on the evidence before the Court, that point is April 20 or very shortly thereafter.

       II.       Answer to Question 2: Ohio may not decline to hold a primary and go straight to
                 the general election.

             The Court next asked the parties: “May Ohio simply not hold a primary and have a general

   election? If so, how would Ohio law provide for a general election for those seats?” Order, ECF

   No. 172. The answer is no.

             The Ohio Constitution and Ohio statutes require a primary election for General Assembly

   seats and all other partisan elective offices. Ohio Const. art. V, § 7 (“All nominations for elective

   state, district, county and municipal offices shall be made at direct primary elections or by petition

   as provided by law”); Ohio R.C. § 3513.01(A) (“[P]rimary elections shall be held for the purpose

   of nominating persons as candidates of political parties for election to offices to be voted for at the

   succeeding general election.”). Many provisions of the Ohio Election Code are premised on the

   holding of a primary election, and the failure to hold a primary would have grave consequences

   for the general election.2 Most significantly, without a primary election, there will be few or

   potentially no General Assembly candidates eligible to be listed on the general election ballot.

             There are only three ways for a candidate’s name to be placed on the general election ballot

   in Ohio: the candidate must have been “nominated at the most recent primary election as [a]




            Ohio law defines a primary as “an election held for the purpose of nominating persons as
             2

   candidates for political parties for election to offices, and for the purpose of electing persons as
   members of the controlling committees of political parties and as delegates and alternates to the
   conventions of political parties.” Ohio R.C. § 3501.01(E)(1). It goes on to provide a date which
   such primary election is held: “the first Tuesday after the first Monday in May of each year except
   in years in which a presidential primary election is held.” Id. Nothing about the definition of
   “primary” is limited to primary elections held on those dates—if the Court orders that a primary
   be held on August 2, it will still qualify as a “primary” under the statutory definition. See id.

                                                      6
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 12 of 31 PAGEID #: 5890




   candidate[] of a political party,” id. § 3505.03(A),3 the candidate must have been “nominated by

   [a] nominating petition[],” id., or the candidate must be the nominee of a newly formed political

   party, id. § 3517.012(B), (C).

             If no General Assembly primary is held, then there will be no General Assembly candidates

   nominated as candidates of a political party at the “most recent primary election,” as the May 3,

   2022 primary will not include any General Assembly candidates and the most recent General

   Assembly primary would have been conducted more than two years ago under different, now

   invalid districts. Thus, there would be no nominees for the 2022 General Assembly districts by

   existing Ohio political parties—the Democratic and Republican Parties—on the general election

   ballot.

             It is possible, but not certain, that candidates nominated by nominating petitions could still

   be listed on the general election ballot. However, nomination by nominating petition is available

   only to “independent candidates,” and only for “an office for which candidates may be nominated

   at a primary election.” Id. § 3513.257. If no General Assembly primary is held, it is unclear whether

   General Assembly seats would still qualify as an “office for which candidates may be nominated

   at a primary election.” Id. This is because the deadline for filing a nominating petition is “not later

   than four p.m. of the day before the day of the primary election” that is “immediately preceding

   the general election at which such candidacy is to be voted for by the voters. . . .” Id. While there

   is currently a May 3 primary scheduled for other offices, General Assembly offices will not appear

   on the May 3 ballot. Accordingly, “candidacy” for such offices will not “be voted for by the voters”

   on May 3, and thus there is no applicable statutory deadline for nominating petitions for




             3
            There is an exception if only one candidate validly petitions to be a candidate in a primary
   in an odd-numbered year, but 2022 is an even-numbered year. Ohio R.C. § 3513.02.

                                                       7
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 13 of 31 PAGEID #: 5891




   independent General Assembly candidates. Even assuming, in these circumstances, that a May 2

   deadline applies, that is just a few weeks away. Id. In that short time, candidates would need to

   gather signatures of eligible voters equal to one percent of the number of ballots cast for governor

   in the legislative district in which they desire to run in the most recent election. Id. § 3513.257(C).

   And, of course, until there are established districts, it is impossible for candidates to know the

   legislative district in which they desire to run and in which they must collect petition signatures.

          Worse, Ohio’s definition of “independent candidate” would disqualify most would-be

   candidates for General Assembly offices, particularly those who would have pursued party

   nomination. To seek nomination by petition, an independent candidate must make a good-faith

   assertion of non-affiliation with any political party. Id. § 3501.01(I). Serving on a party’s executive

   or central committee, membership in party clubs or organizations, or even describing oneself as a

   “Democrat” or “Republican” will disqualify a person from being an independent candidate.

   Jolivette v. Husted, 694 F.3d 760, 766-70 (6th Cir. 2012) (upholding this requirement against a

   First Amendment challenge). This provision will prevent members of the Democratic and

   Republican Parties from seeking to qualify as independent candidates if no primary is held.

          Finally, some Ohioans could also conceivably form one or more new political parties to

   nominate candidates under Ohio R.C. § 3517.012. To do so, the new parties would need to submit

   a party formation petition at least 125 days before the general election—July 6—with signatures

   from qualified voters equal to one percent of the votes cast in Ohio in the 2020 presidential

   election, including at least 500 voters from each of half of Ohio’s congressional districts. Id.

   §§ 3517.01(A)(1), 3517.012. Moreover, candidates’ petitions for nomination by such a new party

   would need to be signed by at least five qualified voters “who have not voted as a member of a

   different political party at any primary election within the current year or the immediately




                                                     8
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 14 of 31 PAGEID #: 5892




   preceding two calendar years”—i.e., no one who voted in a 2020 presidential primary, or any

   primary since, including the May 3 primary, could sign such a petition. Id. § 3517.012(B)(2)(b).

   These candidates would need to run as candidates of the new political party, not as Democrats or

   Republicans. And if multiple candidates sought nomination by a new political party for the same

   office, the party committee—not Ohio voters—would decide which candidate receives the

   nomination and appears on the ballot. Id. § 3517.012(C)(1).

              Thus, if Ohio were to fail to hold a primary election for General Assembly candidates, it

   would have drastic consequences, with Ohio’s existing political parties—the Democratic and

   Republican Parties—entirely unable to place nominees on the ballot, and an uphill road, at best,

   for independent candidates and the nominees of new political parties to qualify. Such an election

   would deprive the vast majority of Ohioans, who support one of the two existing parties, of the

   opportunity to vote for their candidates of choice for General Assembly. See Anderson, 460 U.S.

   at 787-88 (explaining that the right to vote and the freedom of association are burdened by the

   “exclusion of candidates” from the ballot).

       III.      Answer to Question 3: The federal court has authority to require a primary to be
                 held to protect federal rights, and it should do so on April 20 if there is no lawful
                 map and scheduled primary.

              Third and finally, the Court has asked whether it has authority to “move a primary

   election.” Order, ECF No. 172. The answer is yes. At this point, however, with the May 3 primary

   underway without General Assembly candidates on the ballot, the question is not whether the

   Court can move the General Assembly primary; Ohio’s own actions have ensured that primary will

   not take place as originally scheduled.

              Rather, the question is whether the federal court can order that the primary occur. The

   Court’s authority to order Ohio to hold a General Assembly primary follows directly from the fact

   that the failure to hold such a primary would violate federal rights. Supra Part I. When state

                                                      9
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 15 of 31 PAGEID #: 5893




   officials have failed to hold a state election in violation of federal rights, courts have not hesitated

   to order that the election be held to protect those rights. See Bonas, 265 F.3d at 76 (“The violation

   is striking—leading, as we have said, to disenfranchisement of the electorate as a whole—and the

   district court has prudently selected a remedy that allows the electoral machinery to move forward

   without continuing federal involvement. That remedy simply orders the Town to hold an election

   in 2001.”); Duncan, 657 F.2d at 693 (affirming “the decision of the district court . . . to order the

   calling of a special election to fill the vacancy on the Georgia Supreme Court”). And in other

   redistricting cases, courts have often postponed or rescheduled primary elections where necessary

   to protect federal rights. See, e.g., Sixty-Seventh Minn. State Senate v. Beens, 406 U.S. 187, 201

   n.11 (1972) (“If time presses too seriously [to implement a remedial reapportionment plan], the

   District Court has the power appropriately to extend the [election deadline] time limitations

   imposed by state law.”); see also Upham v. Seamon, 456 U.S. 37, 44 (1982) (per curiam) (“[W]e

   leave it to [the District Court] in the first instance to determine whether to . . . reschedule the

   [congressional] primary elections.”).4

          The need for this Court’s intervention to set a new primary date reflects a remarkable

   failure of Ohio’s political leadership; in particular, the Ohio Redistricting Commission’s refusal to

   abide by the directives of the Ohio Supreme Court to adopt a constitutional General Assembly

   Plan and the General Assembly’s refusal to reset the primary election deadline itself. The latest in



          4
            See also Larios v. Cox, 305 F. Supp. 2d 1335, 1343 (N.D. Ga. 2004) (noting the court’s
   power to extend election deadlines and ordering new statewide maps be drawn in time for
   upcoming primary election); Carter v. Chapman, No. 7 MM 2022, 2022 WL 549106 (Pa. Feb. 23,
   2022) (modifying congressional and statewide election calendar “to provide for an orderly election
   process” due to impasse and noting suspension of state legislative election deadlines until
   resolution of litigation); Order, In the Matter of 2022 Legislative Districting of the State, Misc.
   Nos. 21, 24, 25, 26, 27 (Md. Mar. 15, 2022) (postponing 2022 gubernatorial primary and related
   deadlines) (attached as Exhibit 1); Harper v. Hall, 379 N.C. 656, 658 (2021), reconsideration
   dismissed, 867 S.E.2d 185 (N.C. 2022) (postponing 2022 primary and related deadlines).

                                                     10
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 16 of 31 PAGEID #: 5894




   this exercise in political brinksmanship appears designed to gridlock Ohio’s redistricting process

   in the hopes that (as further discussed in the next section) the Court will order use of a plan that

   violates the Ohio Constitution and the holdings of the Ohio Supreme Court.

             It thus seems increasingly apparent that absent a federal court order, Ohio officials will not

   hold a General Assembly primary at all. Secretary LaRose confidently asserts that “[w]hen a

   primary election will be held . . . remains to be seen, but it will happen.” Br., ECF No. 164 at

   PageID # 5390. But his faith is unfounded. As he later acknowledges in a footnote, the General

   Assembly so far “has not acted to” schedule a new primary and will not be in session before April

   20, the date by which intervention is needed. Id. at PageID # 5395 n.2.

             Under the circumstances, where Ohio officials seem insistent on violating federal rights by

   professing themselves unable to schedule an election that they admit the state constitution requires,

   the Court has the unenviable duty to step in and defend federal rights by ordering that the election

   occur and setting a date for it. Bonas, 265 F.3d at 76; Duncan, 657 F.2d at 693. If the present

   situation persists on April 20, that is what the Court should do.

       IV.      The Court must order the use of a substantively lawful plan, not an unlawful plan
                passed by the Commission.

             Controlling authority is clear: in ordering relief in the redistricting context, the Court must

   “follow the policies and preferences of the State, as expressed in statutory and constitutional

   provisions or in the reapportionment plans proposed by the state legislature, whenever adherence

   to state policy does not detract from the requirements of the Federal Constitution.” Weiser, 412

   U.S. at 795; see also Perry, 565 U.S. at 393; Reynolds, 377 U.S. at 584 (“[C]ourts should attempt

   to accommodate the relief ordered to the apportionment provisions of state constitutions insofar as

   is possible.”).




                                                       11
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 17 of 31 PAGEID #: 5895




          The Court must, however, follow the legal requirements and policy choices of the State

   itself, not of particular state officials. Weiser, 412 U.S. at 795; Large, 670 F.3d at 1147

   (“[D]eference must run first and foremost to the legislative decision-making of the sovereign State

   and, only through it, to its subordinate political subdivision.”). And when state officials violate

   valid state law, they act beyond their legal authority, and their “ultra vires acts bear no legitimate

   force in a government under the law.” Gentry, 456 F.3d at 697; Cincinnati, Wilmington &

   Zanesville, 1 Ohio St. at 86 (government acts are “void” if they “do[] not fall within the general

   grant of power to that body, or [are] expressly prohibited by some provision of the constitution”);

   Middletown v. Ferguson, 25 Ohio St. 3d 71, 80 (1986) (“[A]n unconstitutional law must be treated

   as having no effect whatsoever from the date of its enactment.”). To rule otherwise would be to

   render Ohio’s “constitution a blank paper” by making governmental actors “the sole judges of their

   constitutionality,” with “no guarantee for a single right to citizens.” State ex. rel. Ohio Acad. of

   Trial Lawyers v. Sheward, 86 Ohio St. 3d 451, 463 (1999) (quoting Rutherford v. M’Faddon

   (1807), in Pollack, Ohio Unreported Judicial Decisions Prior to 1823 at 71 (1952)). Ohio law

   emphatically rejects that route. See id.

          That is to say, state officials cannot disregard the Ohio Constitution, because it is the

   “state’s most fundamental law,” State ex rel. Ohio Gen. Assembly v. Brunner, 114 Ohio St. 3d 386,

   393 (2007), and the sole means by which the sovereign people of Ohio have delegated political

   authority to state officials, Cincinnati, Wilmington & Zanesville, 1 Ohio St. at 85. “[F]rom that

   instrument, alone, must every department of the government derive its authority to exercise any

   portion of political power.” Id. If state officials violate the Ohio Constitution, as the Commission

   did in adopting unconstitutional plans, they act beyond their authority, and their actions are void.

   Id. at 85-86.




                                                    12
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 18 of 31 PAGEID #: 5896




          Plaintiffs think otherwise. They say there is “no issue” if the Court imposes a plan that,

   Plaintiffs do not even bother to deny, violates the Ohio Constitution because “there is nothing

   sacrosanct about the Ohio Constitution.” Br., ECF No. 160 at PageID # 4525.

          Plaintiffs cite three cases to support this remarkable proposition, but none can sustain it. In

   fact, these cases support the Bennett Petitioners’ argument, because each involved a violation of a

   state law procedure, not of a substantive apportionment requirement. Two of the cases involved a

   requirement to provide advance public notice before meetings, which was set aside due to the need

   to adopt a remedial plan quickly. See Navajo Nation v. Ariz. Indep. Redistricting Comm’n, 230 F.

   Supp. 2d 998, 1008 (D. Ariz. 2002) (redistricting commission did not “comply with the public

   notice requirements set forth in the Arizona constitution before adopting on an emergency basis”

   the remedial plan it proposed to the court); Straw v. Barbour Cnty., 864 F. Supp. 1148, 1155 (M.D.

   Ala. 1994) (“[T]he county commission violated state law when it met and adopted the [remedial]

   plan without giving prior public notice of its meeting.”). The third case involved a remedial plan

   proposed by a county commission that lacked legal authority to reapportion itself without

   conducting a referendum; the plan itself was consistent with the substantive requirements of state

   law. Tallahassee Branch of NAACP v. Leon Cnty., Fla., 827 F.2d 1436, 1438 (11th Cir. 1987).5




          5
             Plaintiffs also cite Perry v. Perez, 565 U.S. 388 (2012), for the proposition that federal
   “courts should be guided by the legislative policies underlying a state plan—even one that was
   itself unenforceable.” Br., ECF No. 160 at PageID # 4521 (quoting Perry, 565 U.S. at 393). But
   both Perry and the case it cites for that proposition, Abrams v. Johnson, 521 U.S. 74 (1997),
   discussed state plans that were held unenforceable due to violations of the federal Constitution and
   Voting Rights Act rather than any violation of state law. See Perry, 565 U.S. at 393 (citing Abrams,
   521 U.S. at 79). Those plans thus reflected state policy, albeit state policy that was preempted, in
   part, by federal law. In contrast, the Third and Fourth Plans violate state law, and thus do not reflect
   Ohio policy. Plaintiffs point to no instance of a federal court imposing a district plan that violates
   substantive state law, except where there was an “unavoidable conflict” between federal and state
   law. See Reynolds, 377 U.S. at 568-69, 584.

                                                     13
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 19 of 31 PAGEID #: 5897




          Navajo Nation, Straw, and Tallahassee Branch of NAACP thus confirm, as the Bennett

   Petitioners have argued, that the Court may adopt a substantively lawful plan that does not comply

   with state procedural requirements—here, the requirement of passage by the Commission—if

   doing so is necessary to protect federal rights. Br., ECF No. 161 at PageID # 4568-72. But none

   of those cases, or any other, suggests that the Court may impose a plan that violates valid

   substantive requirements of Ohio law, such that no Ohio actor could have lawfully adopted it.

   Fundamental principles of limited government are squarely to the contrary, as explained in Large:

   When a state body or official “substantively contravenes the laws of that State—at least insofar as

   that contravention is not sanctioned by higher federal law—it no longer acts as an agent of that

   sovereign, and therefore is due no federal-court deference.” Large, 670 F.3d at 1146; see also

   Gentry, 456 F.3d at 697; Cincinnati, Wilmington & Zanesville, 1 Ohio St. at 86; Middletown, 25

   Ohio St. 3d at 80.

          Plaintiffs have no answer to Large and the fundamental principles of limited government

   and popular sovereignty that underlie it. Plaintiffs cite the Supremacy Clause, but they make no

   effort to explain why federal law should require the Ohio Constitution’s substantive requirements

   to give way, rather than only the procedural requirement that a plan be adopted by the Commission.

   Br., ECF No. 160 at PageID # 4524-25. Precedent and respect for Ohio law require the latter route

   because Ohio law regards substantively unconstitutional acts as void and ultra vires. Gentry, 456

   F.3d at 697; Cincinnati, Wilmington & Zanesville, 1 Ohio St. at 86; Middletown, 25 Ohio St. 3d at

   80; Ohio Acad. of Trial Lawyers, 86 Ohio St. 3d at 463.

          Put differently, the Ohio-law procedural requirement of passage by the Commission must

   give way under preemption principles because protecting federal rights requires that a plan be in

   place, the Court does not have before it any Commission-passed plan that is valid under Ohio law,




                                                   14
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 20 of 31 PAGEID #: 5898




   and the invalid Commission-passed plans are void. In contrast, the Court can adopt a plan that

   meets Ohio’s substantive requirements, so those requirements are not preempted by federal law.

            In arguing otherwise, Plaintiffs invoke exigency, pointing to the need for a plan by April

   20. Br., ECF No. 160 at PageID # 4525. But the exigency would equally be met by imposing one

   of the lawful plans before the Court, each of which could be imposed on April 20, in time for an

   August 2 primary. Infra Part VII. Exigency therefore provides no justification for imposing a

   substantively unlawful plan.

            The Commission had no authority to adopt redistricting plans in violation of the Ohio

   Constitution. It would be a strange form of federalism for this Court to empower the Commission’s

   lawless intransigence in repeatedly violating the express limitations that the Ohio people placed

   on its authority, when Ohio’s own legal system has strived to enforce those limitations.

       V.      The Third and Fourth Plans are unconstitutional.

            Plaintiffs ask the Court to order the use of the Third or Fourth Plan adopted by the

   Commission, but as the Bennett Petitioners explained in their prior brief, both are unconstitutional

   under Ohio law. Br., ECF No. 161 at PageID # 4569-73. The Ohio Supreme Court already held

   the Third Plan unconstitutional “in its entirety” and ordered the Commission to “draft and adopt

   an entirely new General Assembly–district plan.” League of Women Voters of Ohio v. Ohio

   Redistricting Comm’n, 2022-Ohio-789, ¶ 44, 2022 WL 803033 (Ohio Mar. 16, 2022) (“LWV III”).

   And after starting to do so, in the last two hours before the Court-imposed deadline, a partisan

   majority of the Commission instead pulled the plug and adopted the Fourth Plan, which is 99.7%

   identical to the Third Plan and contains nearly all of the same constitutional problems. ECF No.

   161-1 ¶ 4; Tr. 136:3-138:6; 145:15-22; 148:15-18; 174:19-175:4.

            No one even attempts to defend the Fourth Plan’s constitutionality in this Court. Plaintiffs

   point out that “[a]s of today”—that is, April 6 when they filed their brief—the Fourth Plan “has

                                                    15
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 21 of 31 PAGEID #: 5899




   not been invalidated by the [Ohio Supreme] Court.” Br. at Page ID # 4524, ECF No. 160. Yet

   elsewhere, they acknowledge that the Fourth Plan is “likely to be rejected” by the Ohio Supreme

   Court because of its similarity to the Third Plan, id. at Page ID #4514, and nowhere do they argue

   that the Fourth Plan complies with the constitutional requirements as the Ohio Supreme Court has

   construed them. See id. at 4522-24. Similarly, Secretary LaRose emphasizes that “as of the filing

   of this Response, the Ohio Supreme Court has not yet issued a ruling, and the Fourth Plan stands.”

   Resp. at Page ID # 5391-92, ECF No. 164. But even though Secretary LaRose voted for the Fourth

   Plan, see Ohio Redistricting Comm’n, Mar. 28, 2022 Tr. Part 4, available at https://redistricting.o

   hio.gov/assets/organizations/redistricting-commission/events/commission-meeting-march-28-

   2022-281/transcript-part-4.docx (last visited Apr. 11, 2022), he offers neither evidence nor

   argument in this Court that it is lawful. And the statements several Commissioners made in voting

   for the Fourth Plan show that they never believed it was. See id.

          Bennett Petitioners’ and the other Intervenors’ showing thus stands entirely unrebutted: the

   Fourth Plan violates the Ohio Constitution. And because, as explained in Part VII, lawful plans are

   available, the fact that the Fourth Plan violates the substantive redistricting requirements of the

   Ohio Constitution means that the Court may not order its use. White, 412 U.S. at 795; Perry, 565

   U.S. at 393; Reynolds, 377 U.S. at 584; supra Part IV. In advocating for the adoption of the Third

   or Fourth Plans, then, Plaintiffs effectively ask the Court to act as an accessory-after-the-fact to

   the Commission’s repeated violations of the Ohio Constitution by signing off on an ultra vires

   Commission plan.

          After admitting that, “as a statewide official who swore an Oath to obey Ohio’s

   Constitution,” he “should” not advocate for an unconstitutional plan, Resp., ECF No. 164 at

   PageID # 5395 n.2, Secretary LaRose goes on to do just that, arguing that using the Fourth Plan




                                                   16
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 22 of 31 PAGEID #: 5900




   would be easier for boards of elections precisely because it is nearly identical to the

   unconstitutional Third Plan that many counties still have in their systems, id. at 5399-00. But the

   record is clear that Ohio can conduct an August 2 election using an entirely new plan, under an

   ordinary elections schedule, if the plan is adopted on April 20. Tr. 83:3-84:25; see also Resp., ECF

   No. 164 at PageID # 5396 n. 8. The Court’s duty is to respect state law to the greatest extent

   consistent with protecting federal rights. Weiser, 412 U.S. at 795; Perry, 565 U.S. at 393; Reynolds,

   377 U.S. at 584. It cannot adopt an unconstitutional plan simply because doing so would be a bit

   easier for elections officials.

       VI.      The 2011 Plan is unconstitutionally malapportioned and violates Ohio law.

             The Court also cannot adopt the 2011 Plan. It violates both federal and state law. It is

   undisputed that the 2011 Plan is unconstitutionally malapportioned in violation of the Equal

   Protection Clause. Br. ECF No. 160 at PageID # 4526 (Plaintiffs); Resp., ECF No. 164 at PageID

   # 5400-01 (Secretary LaRose). Remarkably, Plaintiffs—whose primary legal claim has always

   been malapportionment—nevertheless argue that the Court could order the use of the 2011 Plan

   for one more election. Br., ECF No. 160 at PageID # 4526-27. Nothing could possibly justify the

   Court in doing so. Using the 2011 Plan is the most lawless avenue available to the Court: it would

   violate federal rights, it would also violate Ohio law, and it would carry no offsetting benefits.

             First, the 2011 Plan violates federal law. It is extraordinarily malapportioned, with a

   maximum population deviation of 34.21 percent in the Ohio House and 25.26 percent in the Ohio

   Senate. Decl. of Dr. Jonathan Rodden at Page ID # 4631 ¶ 13, ECF No. 161-2. Plans with a

   maximum deviation of more than 10 percent are “presumptively impermissible” under the Equal

   Protection Clause, and no one attempts to defend the significant additional deviations in the 2011

   Plan. Evenwel v. Abbott, 578 U.S. 54, 60 (2016) (quoting Brown v. Thomson, 462 U.S. 835, 842-

   43 (1983)). Secretary LaRose “assumes that the Court would order that any population

                                                    17
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 23 of 31 PAGEID #: 5901




   malapportionment issues be addressed” before ordering the use of the 2011 Plan. Resp. at Page ID

   # 5401, ECF No. 164. He later describes fixing malapportionment as “a must.” Id. at 5404. But

   correcting the malapportionment issues in the 2011 Plan is not a simple or straightforward

   assignment. Cf. Wattson v. Simon, 970 N.W.2d 42 (Minn. Feb. 15, 2022) (“[W]e start with the

   existing [state legislative] districts, changing them as necessary to remedy [malapportionment] by

   applying politically neutral redistricting principles. Still, this restrained approach does not

   necessarily yield little change. When one district changes, so must its neighbors—a cascading

   effect that means even a district drawn ten years ago that remains within appropriate population

   deviation will need to change along with the rest of the state.”).6 Secretary LaRose provides no

   guidance as to how he expects that the Court could accomplish that extraordinarily fraught task in

   the next nine days. See id. It would make no sense for the Court to start from scratch at this late

   date when it already has a menu of properly apportioned plans in front of it, two of which—the

   Corrected Independent Map Drawers’ Plan and the Rodden III Plan—comply fully with all

   substantive legal requirements.7



          6
             Moreover, even when adjusting a district plan in order to remedy malapportionment, a
   federal court must ensure that the remedial plan conforms with substantive state law to the greatest
   extent possible, which would necessarily include Ohio’s constitutional redistricting reforms,
   adopted after the 2011 Plan was enacted. See Weiser, 412 U.S. at 795.
           7
             The lawful plans that are available to the Court distinguish this case from Watkins v.
   Mabus, 771 F. Supp. 789 (S.D. Miss. 1991), where the court ordered an “on-time” election under
   the prior decade’s plan due to a lack of time to fashion its own plans and serious problems with
   each of the parties’ proposed plans. Indeed, the ready availability of alternative plans and the fact
   that the primary election will already not take place as scheduled underscore that this case is the
   opposite of those in which courts have allowed the implementation of a previous decade’s—or any
   other invalid—maps. See Pileggi v. Aichele, 843 F. Supp. 2d 584, 596 (E.D. Pa. 2012) (ordering
   election to proceed under the “only-existing plan, the [previous decade’s] Plan” where stopping
   the Secretary of State “from moving forward with the” scheduled primary was “not a reasonable
   option,” as “the election process had already begun” under the previous decade’s state legislative
   maps pursuant to state supreme court order); see Diaz v. Silver, 932 F. Supp. 462, 468–69
   (E.D.N.Y. 1996) (listing cases where courts allowed elections to proceed under invalidated maps


                                                    18
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 24 of 31 PAGEID #: 5902




          Second, if it were adopted today, the 2011 Plan would also flagrantly violate Ohio law. It

   was adopted before the 2015 amendments to the Ohio Constitution that created today’s Article XI,

   which established the Commission as a body, certain line-drawing criteria, and the partisan-

   fairness requirements of Article XI, Section 6. As the Bennett Petitioners have explained, the 2015

   amendments were passed precisely to consign partisan gerrymanders like the 2011 Plan to the

   dustbin of Ohio redistricting history. The 2011 Plan therefore does not comply with the Ohio

   Constitution as it exists today, and it has never been adopted by the Commission, the body that is

   now tasked with adopting General Assembly plans.

          Third, as Secretary LaRose’s filing makes clear, using the 2011 Plan would not carry any

   efficiency advantages over using any other plan. Resp. at Page ID # 5401, ECF No. 164. Evidently,

   the boards of election have by now entirely removed the 2011 Plan from their systems and would

   have to “rebuild” those districts “from the ground up.” Id. If boards of elections must do that, there

   is no reason to order them to do it with the malapportioned 2011 Plan, rather than with one of the

   lawful plans before the Court.

          In sum, the 2011 Plan has nothing going for it: it (alone of all the plans) is malapportioned

   under federal law, violates Ohio law, and would be no easier for elections officials to implement

   than any other plan. The Court should reject that option out of hand.

       VII.   Both the Corrected Independent Map Drawers’ Plan and the Rodden III Plan are
              lawful and could be imposed by the Court.

          The Court has at least two lawful options in front of it: the Corrected Independent Map

   Drawers’ Plan and the Rodden III Plan. If Ohio has no lawful plan on April 20, the Court should

   order the use of one of those plans.



   where “no alternative districting plan exists” and where doing so would avoid disruptions to
   regularly scheduled election dates and deadlines).

                                                    19
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 25 of 31 PAGEID #: 5903




           Secretary LaRose raises no objection to either plan. See generally Resp., ECF No. 164. He

   contends that implementing any plan other than the Fourth Plan will require that he be supplied on

   April 20 with “the electronic shape files, Census block assignment files, written legal descriptions

   of the districts, and the designations of the most populous county in each House and Senate

   district.” Id. at 5396 n.3. The Bennett Petitioners have already made the block assignment files for

   the Corrected Independent Map Drawers’ Plan and the Rodden III Plan available and stand ready

   to provide the electronic shape files and most populous county designations for those plans.8 The

   appropriate state officials can use the already-submitted block assignment files to begin preparing

   legal descriptions of the two plans right away. Secretary LaRose has previously directed boards of

   elections to begin programming their systems before legal descriptions had been generated. See

   Ohio Sec’y of State, Directive 2022-26 at 3, https://www.ohiosos.gov/globalassets/elections/dire

   ctives/2022/directive-2022-26.pdf (directing boards of election to “immediately begin the process

   of reprogramming their voter registration systems with the February 24, 2022 General Assembly

   district maps” even though the legal descriptions were not yet available).

           A.      The Corrected Independent Map Drawers’ Plan

           The Corrected Independent Map Drawers’ Plan is a lawful plan generated by independent

   map drawers retained by the Commission itself, with technical corrections that left the plan 99.9%

   unchanged and did nothing to affect its partisan balance. ECF No. 161-2 at PageID # 4361 ¶ 11. It

   complies with all substantive requirements of Ohio law, and it is properly apportioned under

   federal law. ECF No. 161-2 at PageID #4361 ¶ 8; see also ECF No. 171-1. The Court should order

   its use if there is no lawful plan as of April 20.




           8
           See ECF No. 177-7 at PageID # 5773 ¶ 6 (link to files for Corrected Independent Map
   Drawers’ Plan); ECF No. 107 at PageID # 2555 n.10 (link to files for Rodden III Plan).

                                                        20
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 26 of 31 PAGEID #: 5904




          Plaintiffs raise three objections to imposing a plan drawn by the independent map drawers.

   First, Plaintiffs complain that the plan was rejected by the Commission. Br. at Page ID # 4531,

   ECF No. 160. But as explained above, the Commission has never adopted a lawful plan—had it

   done so, there would be no need for the Court’s intervention. Supra Parts IV-V. And as between a

   lawful plan rejected by the Commission and an unlawful one that the Commission adopted,

   deference to Ohio’s Constitution requires that the Court favor the lawful plan. Id. This is especially

   true where only the independent map drawers’ plan—unlike any of the plans that the Commission

   adopted—was drafted by map drawers retained by the Commission itself, which is a state

   constitutional requirement. LWV III at ¶ 25 (“The commission has adopted three plans so far, but

   it still has not drafted one.” (emphasis in original); citing Ohio Const. art. XI, § 1(C) (“The

   commission shall draft the proposed plan . . . .”)).

          Second, Plaintiffs complain that the independent map drawers’ plan had technical flaws.

   Br., ECF No. 160 at PageID # 4530. This was true of the original independent map drawers’ plan,

   but the Corrected Independent Map Drawers’ Plan fixes those issues, while preserving 99.9% of

   Ohioans in the districts that the independent map drawers placed them in and leaving the plan’s

   partisan balance unchanged. ECF Nos. 161-2, 171-1.9

          Third, Plaintiffs complain about the involvement of staffer Chris Glassburn in providing

   comments and input on the independent map drawers’ plan. Br. at Page ID # 4530, ECF No. 160.

   Contrary to Plaintiffs’ misleading description that Mr. Glassburn “drafted portions of the map that



          9
            It is not unusual for a substantively complete plan to require technical correction as a part
   of a cleanup process. The Bennett Petitioners note that the Commission itself has previously
   adopted plans that contained technical violations akin to those in the plan that the independent map
   drawers were finalizing. See Aff. of Raymond DiRossi ¶ 28, Bennett v. Ohio Redistricting
   Comm’n, No. 2021-1198 (Ohio Jan. 28, 2022) (affidavit from Republican Commissioners’ map
   drawer identifying allegedly “Non-Significant Violations” in the Commission’s Second Plan,
   explaining that the plan should be upheld because the issues were “minor” and “easily fixable”).

                                                    21
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 27 of 31 PAGEID #: 5905




   were not approved by Dr. Johnson, Dr. McDonald, or a member of the Redistricting Commission,”

   there was nothing nefarious about Mr. Glassburn’s assistance. As Mr. Glassburn told this Court,

   he—along with two Republican staffers and another Democratic staffer—was charged with being

   in the room with the map drawers to offer them technical advice to assist them in completing the

   maps, all live-streamed to the public. Tr. 123:20-24. That is, Mr. Glassburn provided feedback in

   public to the map drawers, while livestreamed, pursuant to the Commission’s approved procedures

   for working with the map drawers. Dr. Johnson explained that both he and Dr. McDonald

   “reviewed the partisan lean” of the suggested map portions provided by Mr. Glassburn and made

   changes to those suggestions. Aff. of Dr. Johnson at Page ID # 4540, ECF No. 160-1. If the

   Republican staffers did not weigh in on Mr. Glassburn’s assistance on March 28th, it was because

   those staffers eschewed working with the map drawers on that day. Specifically, Mr. Springhetti,

   one of the Republican staffers, chose not to be in the mapping room for most of March 28th, and,

   when he did enter, he focused on drawing what became the Fourth Plan, rather than assisting the

   independent map drawers. See Ohio Redistricting Comm’n, Mar. 28, 2022 Tr. Part 4 at 3, https://

   redistricting.ohio.gov/assets/organizations/redistricting-commission/events/commission-meeting-

   march-28-2022-281/transcript-part-4.docx (President Huffman revealing to the Commission that

   “Mr. Springhetti” had been “working on” “another working document” instead of the independent

   map).

           It is a bit rich for Plaintiffs to complain about Mr. Glassburn’s publicly live-streamed

   assistance to Mr. Johnson, when it was the Republican staffer’s choice to be absent except for

   when he drew what would become the Fourth Plan, rather than assisting the independent map

   drawers as Mr. Glassburn did. In any event, Mr. Glassburn’s assistance was rendered to Mr.

   Johnson, the Republican-nominated map drawer, who finished the plans in the absence of Dr.




                                                  22
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 28 of 31 PAGEID #: 5906




   McDonald, the Democratic Commissioners’ nominee. See id. at 4541-42 ¶ 17. Plaintiffs make no

   showing that Mr. Glassburn’s assistance did anything to undermine the partisan balance of the

   map, and it did not. See Decl. of Dr. Jonathan Rodden, ECF No. 161-2.

          B.      The Rodden III Plan

          Alternatively, the Court should order the use of the Rodden III Plan. Aside from arguing

   that the Rodden III Plan was not adopted by the Commission, see supra Part IV, Plaintiffs argue

   only that the Rodden III Plan does not meet the strict partisan proportionality requirements of the

   Ohio Constitution. Br., ECF No. 160 at PageID # 4531. Plaintiffs argue that Dr. Rodden

   “acknowledged that this map should not be an option for this Court” but that is outright false: the

   Court will search Plaintiffs’ citations in vain for such a statement. Id. Rather, Dr. Rodden testified

   that “to [his] knowledge [his] plan met the technical criteria of the Constitution,” Tr. 199:16-20,

   and that his plan was able “to meet the requirements of the Ohio Constitution and come closer to

   partisan proportionality” than the Commission’s plans did. Id. at 186:17-21; see also Ex. 3, ECF

   No. 107-3 at PageID # 2614 ¶ 30 (“Although, admittedly, the Rodden III Plan does not achieve

   the perfect 54/46 split, it gets closer than the [Third Plan] by anywhere from 6 to 9 percent.”).

          The Ohio Constitution’s partisan proportionality requirement is mandatory, but it requires

   a bona fide, best efforts attempt to achieve perfect partisan proportionality, rather than necessarily

   mandating complete success: it “contemplates that the standards set forth in it may not come to

   fruition, [but] it nevertheless requires the commission to try to achieve them.” League of Women

   Voters of Ohio v. Ohio Redistricting Comm’n, No. 2022-Ohio-65, ¶ 90, 2022 WL 110261 (Ohio

   Jan. 12, 2022) (“LWV I”). It is undisputed that, as the Ohio Supreme Court has construed and

   applied the partisan proportionality requirements, the Rodden III Plan comes far closer to

   proportionality than the Third Plan or the Fourth Plan. Ex. 1, Expert Aff. of Dr. Jonathan Rodden,

   ECF No. 161-1 at PageID # 4601 ¶¶ 29-3 (Mar. 30, 2022). The Corrected Independent Map

                                                    23
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 29 of 31 PAGEID #: 5907




   Drawers’ Plan is even better. Tr. 187:1-3. But if for whatever reason the Court does not impose

   the Corrected Independent Map Drawers’ Plan, it should impose the Rodden III Plan. It would

   make no sense for the Court to reject the Rodden III Plan as insufficiently proportional and then

   impose a plan that is even less proportional in its stead.

                                             CONCLUSION

          For the foregoing reasons, if intervention becomes necessary to protect Ohioans’ federal

   rights, this Court should impose a lawful plan such as the Corrected Independent Map Drawers’

   Plan or the Rodden III Plan to be implemented at a primary election on August 2, 2022.

                                                  Respectfully submitted,

                                                   /s/ Donald J. McTigue________
                                                    Donald J. McTigue* (OH 0022849)
                                                    *Counsel of Record
                                                    Derek S. Clinger (OH 0092075)
                                                    MCTIGUE COLOMBO & CLINGER LLC
                                                    545 East Town Street
                                                    Columbus, OH 43215
                                                    T: (614) 263-7000
                                                    F: (614) 368-6961
                                                    dmctigue@electionlawgroup.com
                                                    dclinger@electionlawgroup.com

                                                   Abha Khanna**
                                                   Ben Stafford **
                                                   ELIAS LAW GROUP LLP
                                                   1700 Seventh Ave, Suite 2100
                                                   Seattle, WA 98101
                                                   T: (206) 656-0176
                                                   F: (206) 656-0180
                                                   akhanna@elias.law
                                                   bstafford@elias.law

                                                   David R. Fox**
                                                   Jyoti Jasrasaria**
                                                   Spencer W. Klein**
                                                   Harleen Gambhir**
                                                   Raisa Cramer**
                                                   ELIAS LAW GROUP LLP
                                                   10 G St NE, Suite 600

                                                    24
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 30 of 31 PAGEID #: 5908




                                         Washington, DC 20002
                                         T: (202) 968-4490
                                         F: (202) 968-4498
                                         dfox@elias.law
                                         jjasrasaria@elias.law
                                         sklein@elias.law
                                         hgambhir@elias.law
                                         rcramer@elias.law

                                         ** Admitted pro hac vice

                                         Counsel for Bennett Petitioners




                                          25
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 181 Filed: 04/11/22 Page: 31 of 31 PAGEID #: 5909




                                    CERTIFICATE OF SERVICE

            This is to certify a copy of the foregoing was served upon all counsel of record by means

     of the Court’s electronic filing system on this 11th Day of April, 2022.



                                                         /s/ Donald J. McTigue________
                                                          Donald J. McTigue (OH 0022849)
